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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES ET AL.                                                  CIVIL ACTION

                                                                                No. 12-859
    VERSUS                                                                      c/w 12-138
                                                                              REF: 12-859

    MARLIN GUSMAN ET AL.                                                       SECTION I


                                                 ORDER

        IT IS ORDERED that a telephone status conference will be held on Tuesday, April 14,

at 7:30 a.m. CST with the Monitor and counsel for DOJ, plaintiffs, the Sheriff, and the City.

The conference will address the status of the Sheriff’s compliance with the reporting

requirements and other provisions of the Consent Judgment1 and the February 11, 2015

stipulated order.2 Counsel shall provide the Court with a telephone number prior to the

conference.

        New Orleans, Louisiana, April 9, 2015.



                                                   ___________________________________
                                                          LANCE M. AFRICK
                                                   UNITED STATES DISTRICT JUDGE




1
 R. Doc. No. 466.
2
 R. Doc. No. 787.
